  Case 17-12189-CMG               Doc 23       Filed 10/02/17 Entered 10/02/17 14:34:10                Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

STEVEN P. KELLY, ESQUIRE
                                                                                 Order Filed on October 2, 2017
Stern & Eisenberg, PC                                                                       by Clerk
1040 N. Kings Highway, Suite 407,                                                   U.S. Bankruptcy Court
Cherry Hill, New Jersey 08034                                                        District of New Jersey
Telephone: (609) 397-9200
FACSIMILE: (856) 667-1456
(COUNSEL FOR MOVANT)


In Re:
Arthur Frank Cook aka Arthur Frank Cook, Jr. and Lori A.    Case Number: 17-12189-CMG
Cook aka Lori Albanese aka Lori A. Albanese-Cook
          Debtors                                           Chapter 13
-------------------------------------------------
U.S. Bank Trust, N.A., as Trustee for LSF9 Master           Judge: Christine M. Gravelle
Participation Trust
           Creditor/Movant
v.
Arthur Frank Cook aka Arthur Frank Cook, Jr. and Lori A.
Cook aka Lori Albanese aka Lori A. Albanese-Cook
            Respondents


  ORDER APPROVING STIPULATION/CONDITIONAL ORDER SETTLING THE MOTION FOR
                      RELIEF FROM THE AUTOMATIC STAY

         The relief set forth on the following pages, numbered two (2) through three (3) is
         hereby ORDERED.




DATED: October 2, 2017
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(page 2)
Debtor: Arthur Frank Cook aka Arthur Frank Cook, Jr. and Lori A. Cook aka Lori Albanese aka Lori A.
Albanese-Cook
Case Number: 17-12189-CMG
Caption of Order: Order Approving Stipulation/Conditional Order Settling the Motion for Relief from
the Automatic Stay

        Upon the Motion of U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust
(Creditor) through its Counsel Stern & Eisenberg PC, attorneys for secured creditor, under
Bankruptcy Code (section 362(d), et al.) for relief from the automatic stay as to certain property, 65
Laurel Ave, Neptune, NJ 07753 (“Property”), and the entry of the Order settling the Motion for Relief
and for cause shown, it is hereby ORDERED and DECREED as follows:

       1. At the date of this Order, Arthur Frank Cook aka Arthur Frank Cook, Jr. and Lori A. Cook
          aka Lori Albanese aka Lori A. Albanese-Cook (“Debtors”) acknowledges that Debtors are
          due for the following post-petition regular monthly payments from June 27, 2017 through
          August 27, 2017 as follows:

               a.   Monthly payments total ($1,553.95/mo):…………….…$4,661.85
               b.   Post-petition suspense balance:…………………………($337.95)
               c.   Attorney Fees:…………………………………………..$531.00
               d.   Total arrears as of date of Order:……………………….$4,854.90

       2. Debtors shall cure the Arrears as set forth above by filing an Amended Plan within 30 days
          incorporating the post-petition delinquency in the amount of $4,854.90 to the pre-petition
          arrears of $128,228.51 making a total of $133,083.41 to be paid through the Plan. Debtor agrees to
          continue regular monthly mortgage payments (currently $1,553.95/month) beginning
          September 27, 2017.

       3. In the event the regular monthly payment changes for any reason, then the amount due
          pursuant to paragraph 2 shall be adjusted accordingly.

       4. Payments due in accordance with this Order shall be due on or before the 1 st day of each
          month.

       5. Debtors shall make the regular monthly payments required to the Trustee.

       6. All payments due to the Creditor from the Debtors are to be made directly to U.S. Bank
          Trust, N.A., as Trustee for LSF9 Master Participation Trust c/o Caliber Home Loans, Inc. at
          P.O. Box 650856, Dallas, TX 75265-0856 and making sure that Creditor’s loan number
          appears on all payments.

       7. In the event that Movant alleges that Debtors have failed to comply with obligations under
          paragraph 2 through 5 of this Consent Order/Stipulation, Creditor and/or Counsel may give
          Debtors and Debtors’ counsel notice of the default and if such default is not cured within ten
          (10) days of said notice, upon certification to the court of such default, and request for
          Order, with a copy to Debtors and Debtors’ counsel, the Court may grant Creditor
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                                                    EXHIBIT A


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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STEVEN P. KELLY, ESQUIRE
Stern & Eisenberg, PC
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            Respondents


 ORDER GRANTING RELIEF FROM AUTOMATIC STAY AND IN REM RELIEF FOLLOWING
       CERTIFICATION OF DEFAULT OF CONDITIONAL ORDER /STIPULATION

         Upon Motion of U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust
(Creditor) for relief and a Certification of Default having been filed in accordance with the
Order/Stipulation Resolving the Motion, it is hereby ORDERED AND DECREED that Movant, U.S.
Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust (Creditor) (and any
assignee/successor-in-interest) is granted relief from the stay of 11 U.S.C. §362, et al. to proceed with
its mortgage foreclosure action and Sheriff’s Sale (and all other rights under state and federal law)
concerning the Property: 65 Laurel Ave, Neptune, NJ 07753 (“Property”)
         It is further ORDERED and DECREED that the 14-day stay pursuant to BKRP 4001(a)(3) is
hereby waived.
